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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE


DERICK ORTIZ, individually and on behalf of
all others similarly situated,
                                                      CASE NO. 1:19-cv-01025-JL
                            Plaintiff,

       v.

SIG SAUER, INC.,

                            Defendant.



                             SECOND JOINT STATUS UPDATE

       On August 24, 2023, the Court ordered the parties to “file joint or separate status updates

regarding the case,” given that “the First Circuit Court of Appeals denied the petition for leave to

appeal on May 10, 2023” and “there are no pending deadlines in this case, since the court

granted the parties’ assented to motion to stay trial.” 8/24/23 Endorsed Ord.

       On September 1, 2023, the parties filed a Joint Status Update informing the Court that

they were engaged in active discussions to explore potential resolution and requesting additional

time to continue such discussions. Dkt. No. 107. The Court granted this request and ordered a

supplemental status report to be filed by October 2, 2023. 9/5/23 Endorsed Ord.

       The parties hereby submit their Second Joint Status Update. The parties remain in

discussions around potential resolution this matter. Since the last Joint Status Update was filed,

the parties have exchanged demands and offers. The parties request another brief extension to

allow them to determine whether resolution is possible. The parties anticipate that this is the last

extension that will be required, and by the time the next status update is due, the parties will be
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in a position to determine whether resolution is possible or if a trial will be necessary. Thus, the

parties request one additional 30-day extension – to November 1, 2023 – to advise the Court

whether they will be able to resolve the claims.

                                              Respectfully submitted,


Dated: October 2, 2023                        DOUGLAS, LEONARD & GARVEY, P.C.

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Dated: October 2, 2023                McLANE MIDDLETON,
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